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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                        :
                                                 :           Case No. 2:14-CR-126
               Plaintiff,                        :
                                                 :           JUDGE ALGENON L. MARBLEY
       v.                                        :
                                                 :
SHANE K. FLOYD, et al.                           :
                                                 :
               Defendants.                       :

                                            ORDER

       This matter comes before the Court on Defendant Christopher D. Martin’s motion for

leave to file a motion for new trial (Doc. 159) and Defendant Carl Robinson’s motion to join

Martin’s motion for leave to file a motion for new trial (Doc. 162). Although both defendants

self-style their motions as ones for “leave to file a motion for new trial”—defendants in truth

seek leave from this Court to contact individual jurors from their case—jurors who unanimously

voted to convict both defendants and who, when individually polled in open court regarding their

votes, affirmed that they were uncoerced and a fair reflection of each juror’s conscience.

       Defendants seek this leave of court because counsel for one of their co-defendants, Shane

Floyd, opted instead to violate: (1) Southern District of Ohio Local Rule 47.1, which prohibits

counsel from contacting jurors, except with leave of court, and (2) this Court’s admonition to

counsel at the close of trial not to contact any jurors. (See Doc. 171.) Floyd’s counsel, having

made no motion for leave of court to contact the jurors, unilaterally decided to hire a private

investigator who then surreptitiously recorded conversations with two jurors. (Id.). Floyd filed

transcripts of those interviews in connection with a motion for new trial that alleged juror

misconduct and improper ex parte communications between courtroom staff and the jury. (Id.).



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       On Friday, September 18, 2015, this Court entertained oral argument regarding Floyd’s

motion for new trial. There, the Court noted that it had reviewed Floyd’s motion and supporting

transcripts of the juror interviews, as well as the Government’s opposition. After considering

both parties’ arguments, the Court concluded that Floyd failed to prove that a new trial was

warranted for a host of reasons, including the following: (1) untimeliness under Federal Rule of

Civil Procedure 33(b); (2) violation of Local Rule 47.1 and this Court’s order at trial not to speak

with any jurors; and (3) lack of merit with respect to any arguments predicated on alleged

“newly discovered evidence” that otherwise might be timely—even accepting as true Floyd’s

very tenuous factual allegations. (Doc. 171).

       Martin and Robinson, who filed their motions for leave of court before this Court’s

September 18, 2015 hearing on Floyd’s motion for new trial, apparently believed that, like

Floyd, they might be able to muster up stories of juror discontent if they were allowed to

interview individual jurors. Nevertheless, the Court already has considered and rejected the very

arguments that Martin and Robinson hope to make in support of their inevitable motion for new

trial should the Court grant them leave to contact individual jurors. Accordingly, and for the

same reasons stated in this Court’s order denying Floyd’s motion for new trial, the Court finds

their motions moot. (See id.).

       Martin’s motion for leave to file a motion for new trial (Doc. 159) and Robinson’s

motion to join in his co-defendant’s motion (Doc. 162) are therefore DENIED AS MOOT.

       IT IS SO ORDERED.


                                                s/ Algenon L. Marbley
                                              ALGENON L. MARBLEY
                                              UNITED STATES DISTRICT JUDGE

DATED: September 25, 2015

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